   Case 2:17-cr-00419-AKK-TMP Document 251 Filed 07/20/18 Page 1 of 1                   FILED
                                                                                2018 Jul-21 PM 05:13
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA
                                                                         flU::i.J
                                                  United States District C
             IN THE UNITED STATES DISTRICT couJt'Prtham District of Ala~~~
              FOR NORTHERN DISTRICT OF ALABAMA
                      SOUTHERN DIVISION                JUL 20 Z018
UNITED STATES OF AMERICA                                          Judge Abdul Kai/on
                                          )
                                          )
                                          )
    vs.                                   )       2: 17-CR-00419-AKK-TMP
                                          )
JOEL IVERSON GILBERT,                     )
DAVID LYNN ROBERSON,                      )


                              Verdict

    We, the jury, find the Defendant Joel Iverson Gilbert,

                 Not Guilty      .x           Guilty as to Count One

                 Not Guilty       x           Guilty as to Count Two

                 Not Guilty       x           Guilty as to Count Three

                 Not Guilty        ~          Guilty as to Count Four

                 Not Guilty        x          Guilty as to Count Five

                 Not Guilty        y:._       Guilty as to Count Six


SO SAY WE ALL.
